Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 1 of 327 Page ID
                                  #:45838
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 2 of 327 Page ID
                                  #:45839
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 3 of 327 Page ID
                                  #:45840
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 4 of 327 Page ID
                                  #:45841
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 5 of 327 Page ID
                                  #:45842
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 6 of 327 Page ID
                                  #:45843
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 7 of 327 Page ID
                                  #:45844
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 8 of 327 Page ID
                                  #:45845
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 9 of 327 Page ID
                                  #:45846
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 10 of 327 Page ID
                                  #:45847
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 11 of 327 Page ID
                                  #:45848
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 12 of 327 Page ID
                                  #:45849
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 13 of 327 Page ID
                                  #:45850
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 14 of 327 Page ID
                                  #:45851
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 15 of 327 Page ID
                                  #:45852
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 16 of 327 Page ID
                                  #:45853
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 17 of 327 Page ID
                                  #:45854
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 18 of 327 Page ID
                                  #:45855
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 19 of 327 Page ID
                                  #:45856
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 20 of 327 Page ID
                                  #:45857
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 21 of 327 Page ID
                                  #:45858
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 22 of 327 Page ID
                                  #:45859
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 23 of 327 Page ID
                                  #:45860
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 24 of 327 Page ID
                                  #:45861
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 25 of 327 Page ID
                                  #:45862
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 26 of 327 Page ID
                                  #:45863
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 27 of 327 Page ID
                                  #:45864
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 28 of 327 Page ID
                                  #:45865
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 29 of 327 Page ID
                                  #:45866
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 30 of 327 Page ID
                                  #:45867
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 31 of 327 Page ID
                                  #:45868
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 32 of 327 Page ID
                                  #:45869
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 33 of 327 Page ID
                                  #:45870
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 34 of 327 Page ID
                                  #:45871
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 35 of 327 Page ID
                                  #:45872
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 36 of 327 Page ID
                                  #:45873
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 37 of 327 Page ID
                                  #:45874
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 38 of 327 Page ID
                                  #:45875
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 39 of 327 Page ID
                                  #:45876
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 40 of 327 Page ID
                                  #:45877
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 41 of 327 Page ID
                                  #:45878
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 42 of 327 Page ID
                                  #:45879
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 43 of 327 Page ID
                                  #:45880
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 44 of 327 Page ID
                                  #:45881
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 45 of 327 Page ID
                                  #:45882
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 46 of 327 Page ID
                                  #:45883
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 47 of 327 Page ID
                                  #:45884
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 48 of 327 Page ID
                                  #:45885
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 49 of 327 Page ID
                                  #:45886
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 50 of 327 Page ID
                                  #:45887
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 51 of 327 Page ID
                                  #:45888
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 52 of 327 Page ID
                                  #:45889
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 53 of 327 Page ID
                                  #:45890
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 54 of 327 Page ID
                                  #:45891
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 55 of 327 Page ID
                                  #:45892
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 56 of 327 Page ID
                                  #:45893
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 57 of 327 Page ID
                                  #:45894
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 58 of 327 Page ID
                                  #:45895
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 59 of 327 Page ID
                                  #:45896
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 60 of 327 Page ID
                                  #:45897
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 61 of 327 Page ID
                                  #:45898
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 62 of 327 Page ID
                                  #:45899
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 63 of 327 Page ID
                                  #:45900
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 64 of 327 Page ID
                                  #:45901
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 65 of 327 Page ID
                                  #:45902
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 66 of 327 Page ID
                                  #:45903
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 67 of 327 Page ID
                                  #:45904
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 68 of 327 Page ID
                                  #:45905
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 69 of 327 Page ID
                                  #:45906
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 70 of 327 Page ID
                                  #:45907
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 71 of 327 Page ID
                                  #:45908
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 72 of 327 Page ID
                                  #:45909
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 73 of 327 Page ID
                                  #:45910
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 74 of 327 Page ID
                                  #:45911
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 75 of 327 Page ID
                                  #:45912
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 76 of 327 Page ID
                                  #:45913
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 77 of 327 Page ID
                                  #:45914
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 78 of 327 Page ID
                                  #:45915
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 79 of 327 Page ID
                                  #:45916
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 80 of 327 Page ID
                                  #:45917
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 81 of 327 Page ID
                                  #:45918
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 82 of 327 Page ID
                                  #:45919
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 83 of 327 Page ID
                                  #:45920
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 84 of 327 Page ID
                                  #:45921
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 85 of 327 Page ID
                                  #:45922
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 86 of 327 Page ID
                                  #:45923
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 87 of 327 Page ID
                                  #:45924
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 88 of 327 Page ID
                                  #:45925
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 89 of 327 Page ID
                                  #:45926
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 90 of 327 Page ID
                                  #:45927
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 91 of 327 Page ID
                                  #:45928
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 92 of 327 Page ID
                                  #:45929
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 93 of 327 Page ID
                                  #:45930
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 94 of 327 Page ID
                                  #:45931
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 95 of 327 Page ID
                                  #:45932
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 96 of 327 Page ID
                                  #:45933
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 97 of 327 Page ID
                                  #:45934
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 98 of 327 Page ID
                                  #:45935
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 99 of 327 Page ID
                                  #:45936
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 100 of 327 Page ID
                                   #:45937
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 101 of 327 Page ID
                                   #:45938
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 102 of 327 Page ID
                                   #:45939
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 103 of 327 Page ID
                                   #:45940
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 104 of 327 Page ID
                                   #:45941
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 105 of 327 Page ID
                                   #:45942
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 106 of 327 Page ID
                                   #:45943
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 107 of 327 Page ID
                                   #:45944
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 108 of 327 Page ID
                                   #:45945
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 109 of 327 Page ID
                                   #:45946
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 110 of 327 Page ID
                                   #:45947
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 111 of 327 Page ID
                                   #:45948
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 112 of 327 Page ID
                                   #:45949
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 113 of 327 Page ID
                                   #:45950
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 114 of 327 Page ID
                                   #:45951
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 115 of 327 Page ID
                                   #:45952
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 116 of 327 Page ID
                                   #:45953
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 117 of 327 Page ID
                                   #:45954
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 118 of 327 Page ID
                                   #:45955
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 119 of 327 Page ID
                                   #:45956
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 120 of 327 Page ID
                                   #:45957
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 121 of 327 Page ID
                                   #:45958
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 122 of 327 Page ID
                                   #:45959
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 123 of 327 Page ID
                                   #:45960
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 124 of 327 Page ID
                                   #:45961
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 125 of 327 Page ID
                                   #:45962
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 126 of 327 Page ID
                                   #:45963
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 127 of 327 Page ID
                                   #:45964
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 128 of 327 Page ID
                                   #:45965
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 129 of 327 Page ID
                                   #:45966
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 130 of 327 Page ID
                                   #:45967
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 131 of 327 Page ID
                                   #:45968
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 132 of 327 Page ID
                                   #:45969
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 133 of 327 Page ID
                                   #:45970
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 134 of 327 Page ID
                                   #:45971
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 135 of 327 Page ID
                                   #:45972
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 136 of 327 Page ID
                                   #:45973
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 137 of 327 Page ID
                                   #:45974
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 138 of 327 Page ID
                                   #:45975
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 139 of 327 Page ID
                                   #:45976
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 140 of 327 Page ID
                                   #:45977
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 141 of 327 Page ID
                                   #:45978
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 142 of 327 Page ID
                                   #:45979
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 143 of 327 Page ID
                                   #:45980
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 144 of 327 Page ID
                                   #:45981
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 145 of 327 Page ID
                                   #:45982
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 146 of 327 Page ID
                                   #:45983
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 147 of 327 Page ID
                                   #:45984
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 148 of 327 Page ID
                                   #:45985
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 149 of 327 Page ID
                                   #:45986
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 150 of 327 Page ID
                                   #:45987
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 151 of 327 Page ID
                                   #:45988
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 152 of 327 Page ID
                                   #:45989
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 153 of 327 Page ID
                                   #:45990
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 154 of 327 Page ID
                                   #:45991
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 155 of 327 Page ID
                                   #:45992
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 156 of 327 Page ID
                                   #:45993
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 157 of 327 Page ID
                                   #:45994
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 158 of 327 Page ID
                                   #:45995
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 159 of 327 Page ID
                                   #:45996
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 160 of 327 Page ID
                                   #:45997
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 161 of 327 Page ID
                                   #:45998
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 162 of 327 Page ID
                                   #:45999
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 163 of 327 Page ID
                                   #:46000
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 164 of 327 Page ID
                                   #:46001
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 165 of 327 Page ID
                                   #:46002
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 166 of 327 Page ID
                                   #:46003
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 167 of 327 Page ID
                                   #:46004
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 168 of 327 Page ID
                                   #:46005
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 169 of 327 Page ID
                                   #:46006
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 170 of 327 Page ID
                                   #:46007
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 171 of 327 Page ID
                                   #:46008
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 172 of 327 Page ID
                                   #:46009
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 173 of 327 Page ID
                                   #:46010
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 174 of 327 Page ID
                                   #:46011
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 175 of 327 Page ID
                                   #:46012
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 176 of 327 Page ID
                                   #:46013
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 177 of 327 Page ID
                                   #:46014
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 178 of 327 Page ID
                                   #:46015
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 179 of 327 Page ID
                                   #:46016
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 180 of 327 Page ID
                                   #:46017
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 181 of 327 Page ID
                                   #:46018
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 182 of 327 Page ID
                                   #:46019
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 183 of 327 Page ID
                                   #:46020
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 184 of 327 Page ID
                                   #:46021
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 185 of 327 Page ID
                                   #:46022
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 186 of 327 Page ID
                                   #:46023
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 187 of 327 Page ID
                                   #:46024
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 188 of 327 Page ID
                                   #:46025
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 189 of 327 Page ID
                                   #:46026
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 190 of 327 Page ID
                                   #:46027
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 191 of 327 Page ID
                                   #:46028
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 192 of 327 Page ID
                                   #:46029
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 193 of 327 Page ID
                                   #:46030
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 194 of 327 Page ID
                                   #:46031
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 195 of 327 Page ID
                                   #:46032
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 196 of 327 Page ID
                                   #:46033
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 197 of 327 Page ID
                                   #:46034
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 198 of 327 Page ID
                                   #:46035
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 199 of 327 Page ID
                                   #:46036
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 200 of 327 Page ID
                                   #:46037
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 201 of 327 Page ID
                                   #:46038
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 202 of 327 Page ID
                                   #:46039
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 203 of 327 Page ID
                                   #:46040
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 204 of 327 Page ID
                                   #:46041
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 205 of 327 Page ID
                                   #:46042
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 206 of 327 Page ID
                                   #:46043
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 207 of 327 Page ID
                                   #:46044
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 208 of 327 Page ID
                                   #:46045
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 209 of 327 Page ID
                                   #:46046
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 210 of 327 Page ID
                                   #:46047
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 211 of 327 Page ID
                                   #:46048
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 212 of 327 Page ID
                                   #:46049
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 213 of 327 Page ID
                                   #:46050
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 214 of 327 Page ID
                                   #:46051
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 215 of 327 Page ID
                                   #:46052
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 216 of 327 Page ID
                                   #:46053
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 217 of 327 Page ID
                                   #:46054
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 218 of 327 Page ID
                                   #:46055
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 219 of 327 Page ID
                                   #:46056
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 220 of 327 Page ID
                                   #:46057
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 221 of 327 Page ID
                                   #:46058
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 222 of 327 Page ID
                                   #:46059
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 223 of 327 Page ID
                                   #:46060
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 224 of 327 Page ID
                                   #:46061
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 225 of 327 Page ID
                                   #:46062
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 226 of 327 Page ID
                                   #:46063
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 227 of 327 Page ID
                                   #:46064
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 228 of 327 Page ID
                                   #:46065
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 229 of 327 Page ID
                                   #:46066
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 230 of 327 Page ID
                                   #:46067
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 231 of 327 Page ID
                                   #:46068
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 232 of 327 Page ID
                                   #:46069
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 233 of 327 Page ID
                                   #:46070
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 234 of 327 Page ID
                                   #:46071
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 235 of 327 Page ID
                                   #:46072
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 236 of 327 Page ID
                                   #:46073
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 237 of 327 Page ID
                                   #:46074
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 238 of 327 Page ID
                                   #:46075
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 239 of 327 Page ID
                                   #:46076
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 240 of 327 Page ID
                                   #:46077
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 241 of 327 Page ID
                                   #:46078
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 242 of 327 Page ID
                                   #:46079
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 243 of 327 Page ID
                                   #:46080
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 244 of 327 Page ID
                                   #:46081
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 245 of 327 Page ID
                                   #:46082
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 246 of 327 Page ID
                                   #:46083
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 247 of 327 Page ID
                                   #:46084
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 248 of 327 Page ID
                                   #:46085
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 249 of 327 Page ID
                                   #:46086
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 250 of 327 Page ID
                                   #:46087
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 251 of 327 Page ID
                                   #:46088
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 252 of 327 Page ID
                                   #:46089
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 253 of 327 Page ID
                                   #:46090
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 254 of 327 Page ID
                                   #:46091
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 255 of 327 Page ID
                                   #:46092
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 256 of 327 Page ID
                                   #:46093
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 257 of 327 Page ID
                                   #:46094
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 258 of 327 Page ID
                                   #:46095
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 259 of 327 Page ID
                                   #:46096
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 260 of 327 Page ID
                                   #:46097
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 261 of 327 Page ID
                                   #:46098
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 262 of 327 Page ID
                                   #:46099
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 263 of 327 Page ID
                                   #:46100
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 264 of 327 Page ID
                                   #:46101
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 265 of 327 Page ID
                                   #:46102
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 266 of 327 Page ID
                                   #:46103
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 267 of 327 Page ID
                                   #:46104
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 268 of 327 Page ID
                                   #:46105
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 269 of 327 Page ID
                                   #:46106
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 270 of 327 Page ID
                                   #:46107
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 271 of 327 Page ID
                                   #:46108
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 272 of 327 Page ID
                                   #:46109
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 273 of 327 Page ID
                                   #:46110
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 274 of 327 Page ID
                                   #:46111
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 275 of 327 Page ID
                                   #:46112
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 276 of 327 Page ID
                                   #:46113
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 277 of 327 Page ID
                                   #:46114
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 278 of 327 Page ID
                                   #:46115
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 279 of 327 Page ID
                                   #:46116
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 280 of 327 Page ID
                                   #:46117
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 281 of 327 Page ID
                                   #:46118
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 282 of 327 Page ID
                                   #:46119
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 283 of 327 Page ID
                                   #:46120
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 284 of 327 Page ID
                                   #:46121
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 285 of 327 Page ID
                                   #:46122
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 286 of 327 Page ID
                                   #:46123
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 287 of 327 Page ID
                                   #:46124
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 288 of 327 Page ID
                                   #:46125
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 289 of 327 Page ID
                                   #:46126
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 290 of 327 Page ID
                                   #:46127
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 291 of 327 Page ID
                                   #:46128
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 292 of 327 Page ID
                                   #:46129
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 293 of 327 Page ID
                                   #:46130
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 294 of 327 Page ID
                                   #:46131
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 295 of 327 Page ID
                                   #:46132
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 296 of 327 Page ID
                                   #:46133
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 297 of 327 Page ID
                                   #:46134
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 298 of 327 Page ID
                                   #:46135
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 299 of 327 Page ID
                                   #:46136
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 300 of 327 Page ID
                                   #:46137
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 301 of 327 Page ID
                                   #:46138
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 302 of 327 Page ID
                                   #:46139
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 303 of 327 Page ID
                                   #:46140
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 304 of 327 Page ID
                                   #:46141
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 305 of 327 Page ID
                                   #:46142
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 306 of 327 Page ID
                                   #:46143
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 307 of 327 Page ID
                                   #:46144
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 308 of 327 Page ID
                                   #:46145
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 309 of 327 Page ID
                                   #:46146
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 310 of 327 Page ID
                                   #:46147
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 311 of 327 Page ID
                                   #:46148
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 312 of 327 Page ID
                                   #:46149
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 313 of 327 Page ID
                                   #:46150
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 314 of 327 Page ID
                                   #:46151
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 315 of 327 Page ID
                                   #:46152
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 316 of 327 Page ID
                                   #:46153
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 317 of 327 Page ID
                                   #:46154
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 318 of 327 Page ID
                                   #:46155
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 319 of 327 Page ID
                                   #:46156
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 320 of 327 Page ID
                                   #:46157
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 321 of 327 Page ID
                                   #:46158
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 322 of 327 Page ID
                                   #:46159
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 323 of 327 Page ID
                                   #:46160
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 324 of 327 Page ID
                                   #:46161
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 325 of 327 Page ID
                                   #:46162
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 326 of 327 Page ID
                                   #:46163
Case 2:04-cv-09049-DOC-RNB Document 2823-5 Filed 03/26/08 Page 327 of 327 Page ID
                                   #:46164
